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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION



UNITED STATES OF AMERICA

v.                                                            CR 1:16-024

ANTONIO BINNS




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Peter D. Johnson having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Peter D. Johnson be granted leave of

absence for the following periods: July 26, 2016 through July 29, 2016.

      This    IK day ofJuly, 2016.




                                       HON)3RJSfcE^J. RAN0ALHALL
                                        United States District Judge
                                        Southern District of Georgia
